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                     IN THE UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF IWNOIS EASTERN DIVISION


IN RE: Jufian Villasenor                            )       Case No.
                                                    )
                                                    )
         Plaintiff                                  )       COMPLAINT
                                                    )
                                                    )
v.       ShellpoWlt Mortgage 5ef'Vicing             )       July Demand Requested
         4000 Chemical Road, Suite 400              )
         Plymouth Meeting, PA 19462                 )
         Defendant                                  )
                                                    )

                                             COMPLAINT

     Now come Plaintiff. by and through her attorneys. and. fOf his Complaint alleges as
                                          follows:

         I.	     Plaintiff. Jutian Villasenor. bring lhis action to secure redress from unlawful
                 collection practices engaged in by Defendant. Shellpoint Mortgage
                 5erYicIng. Plaintiff alleges violation of the Fair Debt Collection Practices
                 Act, 15 U.S C. Section 1692 el seq. rFDCPA").


         2.	     The FDCPA broadly prohibits unfair or unconscionable collection
                 methods, conduct which harasses or abuses any debtor, and any false,
                 deceptive or misleading statements in connection with 1M colledion of a
                 debt.	 15 U.S.C. Section 1692d, 1692e, 16921

         J.	     The FDCPA prohibits a debt collector to contad a debtor when the debt
                 COIIectOf has kllowIedge and can readily ascertain that the debtOf has
                 legal counsel regarding this matter. 15 U S.C. Section 1692c


                               JURISDICTION AND VENUE
         4.	     This court has jurisdiction pursuant to 28 U.S.C. section 1331. 1337.
                 1367; and 15 U.S.C. section 1692(d).
         5.	     Venue is proper because a substantial part of the events givlOll rise to this
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        claim occurred in this District,


                              PARTIES
6.	     Plaintiff incurred an obligation 10 pay money, the primary purpose of which
        was for personal,family, or household uses (the "DebiT


7.	     Plaintiff is a residents of the State of Illinois. Defendanl rSheUpoint
        Mortgage servicingj, is a Pennsylvania business enlity with an address of
        4000 ChetTllcal Road, Suite 400, Plymouth Meeting, PA 19462 operalil'l9
        as a collection agency. and is a -debl collectOf" as the term is defined by
        15 U.S.C. section 1692a(6).


 8.	    Unless othetwise staled hetein. the term "Defend an'" s/'\all refet 10
        Shellpoint Mortgage Setvicing.


9,	     Defendant uses Instruments of inlerstate commerce for rts principal
        purpose of business, which is the collecllOn of debts.
 10.	   At all relevant times, Defendant owned the Debl or was retained 10 coIIecI
        the Debt.
 II.	   The Debt arose from services provided by the Creditor whictl were
        primarily for family, personal or household purposes and which meets the
        definition of a 'debt" under 15 U.S.C. Sectloo 1692(aX5)


               FACTS APPLICABLE TO ALL COUNTS


 12.	   Plaintiff filed for Chaplet 13 Bankruplcy 00 July 31, 2015.
13.	    At the tme of Coofirmation, the Plaintiff's Chapter 13 Plan was 10 pay the
        arrearage Ihrough the Bankruptcy Plan,
 14.	   Priot to the Bankruplcy fi~l'I9, Debtor had a mor1gage 00 a piece of real
        estate Iocaled al 1720 N. Albany Ave., Chicago, IL 60647 that was beillg
        serviced by Defeodanl
 15.	   Defendant received this mor19ag8 when the Plaintiff was in default 10 the
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        original mortgage IM)Ider, making Defendant a Debt Collector as defined
        by 11 U-S.C. Section 1692a(6)
16.	    Plalfltlff was property included in Oebto(s Bankruptcy pelIlion and the
        United States Bankruptcy clerk sent Plaintiff notice of the Bankruptcy
        filing.
17.	    Contained in the above stated notice was who the Attorney wasflS
        representing Plaintiff in the Bankruptcy.
18.	    As evidence that Defendant received proper notloe of the Bankruptcy
        fi~ng. it filed a proof of claim on 5eptember 8, 2015, (allflough no

        Objection). See Exhibit A.
 19.	   Plaintiffs Bankruptcy case was Confirmed by the United Stales
        Bankruptcy Court on Novembef 16, 2015.
20.	    Then. on July 30. 2016, Defendant mailed a collection letter to Plaintiff
        demanding $53,784.15 "Payment Date 0&'0112016: See Exhibit B.
21.	    Al the same time. Defendant senl Plaintiff a letter giving a ·single point of
        cootad'" to Plaintiff lIlat will "perform an evaluation of your financial
        condition and detemline your qualifications for all alternatives that may be
        applicable to yoor account." See Exhibit C.
22.	    Next, Defendant sent a letter to the Plaintiff that it has received Plaintiffs
        request frx a loss mitigation program. See Exhibit D.
23.	    In fact, Plaintiff never requested any such program at all.
24.	    The letter described in paragraph D.    11Jf we do not receive the required
        documents by 0910112016,     we rnay conclude that you have withdrawn
        your request for modification and rnay resume other means to collect any
        amountds due on your account." See E..hibil D.
25.	    It is simply illegal for any collection activity against Plaintiff by Defendanl
        with the Automatic Stay under 11 U.S.C. Section 362.
26.	    Speaking to the language in Exhibit D, as stated in Lox      v. CDA, Ltd., 689
        F.3d 818 (7th Cir. 2012), a debt collector may not suggest possibilities
        that can not legally take place.
        FAIR DEBT COLLECTION PRACTICE ACT VIOLAliONS
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27.	   The Plaintiff incorporates by reference all of the above pal<lgraphs of this
       Complaint as thoogh fully set forth herein at length.
28.	   Defendant violated 15 U.S.C. section 1692c by contacting the Plaintiffs,
       even thoogh it actually knew that the Plaintiffs were retained by an
       Attorney.
29.	   Defendant violated 15 U.S.C. Section 1692d by collecting on a debt that it
       had no Iegallighl at collect on.
30.	   Defendant violated 15 U.S.C. section 1692e by misleading Plaintiff that he
       was legally obligated to pay on this.


                                    JURY DEMAND
31.	   Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
32.	   Plaintiff demands the tollowing relief:



       WHEREFORE, the Court should enter Judgment in favor of the Plaintiff
       and against Defendant for.
                    (1) StatutOfY damages;

                     (2) Attomey fees. litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Coort deems proper.



                                                    Respectfutly submitted.

                                                 lsi John Carlin
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                                                  Attomey for Plaintiff
